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Kenerson, Erik (USADC)

From:                   McCullough, Jason (USADC)
Sent:                   Thursday, October 7, 2021 8:40 AM
To:                     Miller, Nicole (WF) (FBI); Hanak, Nicholas S. (WF) (FBI)

Cc:                     Ballantine, Jocelyn (USADC); Jones, Luke (USADC); Kenerson, Erik (USADC)
Subject:                RE: New Rehl filing
Attachments:            ICANN Lookup.pdf


Great! Thanks, Nicki.

If one does a WHOIS search on the domain using (https://lookup.icann.org/lookup) one can find registration activity
about that site. I attach the results. That indicates that the domain was registered with godaddy on October 6, 2021 (i.e.,
yesterday, which is…coincidentally…the day of Rehl’s filing). The site was registered using an IP address that resolves to
Virginia, which is, coincidentally, the location of Rehl’s lawyer.

It might be useful to issue a    to godaddy to get additional information about the registration of the site and who paid
for it. We can discuss on the stand‐up this morning or sometime today.

An interesting development.

Jason



From: Nicole Miller
Sent: Thursday, October 7, 2021 8:25 AM
To: Hanak, Nicholas S. (WF) (FBI)                         ; McCullough, Jason (USADC)                             ;


Cc: Ballantine, Jocelyn (USADC)                                 ; Jones, Luke (USADC)                      Kenerson, Erik
(USADC)
Subject: Re: New Rehl filing

Nope, I have not seen or heard anything about this. I know he had started (or asked           to start) a
fundraiser page for himself to help with legal fees but I have not heard anything about a supporting the police
page. I'll ask    if he's tracking anything too.

Nicki

From: Hanak, Nicholas S. (WF) (FBI) <nshanak@fbi.gov>
Sent: Thursday, October 7, 2021, 7:08 AM
To: McCullough, Jason (USADC);                (WF) (FBI); Miller, Nicole (WF) (FBI);

Cc: Ballantine, Jocelyn (USADC); Jones, Luke (USADC); Kenerson, Erik (USADC)
Subject: Re: New Rehl filing


Nicki,


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Can you take a look at #1 below? Have you have come across anything referrimg to this fundraiser?



Can you download below videos??

Thanks all
Nick

m: McCullough, Jason (USADC)
Sent: Thursday, October 7, 2021, 6:02 AM
To: Hanak, Nicholas S. (WF) (FBI);
Cc: Ballantine, Jocelyn (USADC); Jones, Luke (USADC); Kenerson, Erik (USADC)
Subject: [EXTERNAL EMAIL] ‐ New Rehl filing


Nick,        ,

Can you get an agent/analyst to:
   1. Investigate the claim that Rehl has initiated a fund‐raising campaign for Capitol Police;
   2. Download the videos referenced below.

I’m wary of watering hole attacks or other malicious conduct, so please ensure that FBI visits the sites identified below
from unattributable non‐network computers.

Jason




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Jason McCullough
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U.S. Attorney’s Office for the District of Columbia
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